This case is in all respects identical with that of San DiegoRealty Co. v. Cornell, L.A. No. 1709, decided March 8, 1907,150 Cal. 637, [89 P. 603]. There was the same tender of the amount due, the same refusal to accept and an offer by plaintiff to pay the amount found justly due. The court's findings were in accordance with the complaint, but in its decree (seemingly doubting its power to accept the tender, as was done in L.A. No. 1709), it decreed an injunction and a reassessment of the property. It should have granted the relief plaintiff prayed for upon payment of the amount which it found to be justly due. As this may be done upon the findings actually made, there is no occasion for a reversal of the judgment, and it is ordered that the judgment be modified in this respect.
McFarland, J., and Lorigan, J., concurred.